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                    EXHIBIT B
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                                                      Bureau of Prisons
                                                       Health Services
                                                          Vitals All
Begin Date: 01/01/2021                                   End Date:    01/06/2021
Reg #:      27832-054                                    Inmate Name: JOHNSON, CORY

Temperature:
     Date             Time             Fahrenheit     Celsius Location            Provider
     01/05/2021       11:20 THX                97.1      36.2     McGuire, Cody NREMT-P
             Orig Entered: 01/05/2021 11:21 EST McGuire, Cody NREMT-P
     01/03/2021    13:54 THX          97.3     36.3               McGuire, Cody NREMT-P
             Orig Entered: 01/03/2021 13:55 EST McGuire, Cody NREMT-P
     01/02/2021    11:20 THX          97.4     36.3               Durr, R. NRP
             Orig Entered: 01/02/2021 11:21 EST Durr, R. NRP
     01/02/2021    11:19 THX          97.6     36.4                               Durr, R. NRP
             Orig Entered: 01/02/2021 11:20 EST Durr, R. NRP
             Last Updated: 01/02/2021 12:24 EST Durr, R. NRP
     01/01/2021    07:30 THX          97.6     36.4                               Durr, R. NRP
               Orig Entered: 01/02/2021 12:27 EST Durr, R. NRP

Pulse:
     Date          Time               Rate Per Minute       Location              Rhythm      Provider
     01/02/2021 08:00 THX                    76   Via Machine                      Beddow, Kylee RN
         LATE ENTRY: Checks completed by this RN. Information documented by other staff member. Information
         inadvertently left off.
              Orig Entered: 01/05/2021 16:06 EST Beddow, Kylee RN

SaO2:
     Date             Time             Value(%) Air                        Provider
     01/02/2021       08:00 THX              98 Room Air                   Beddow, Kylee RN
          LATE ENTRY: Checks completed by this RN. Information documented by other staff member. Information
          inadvertently left off.
              Orig Entered: 01/05/2021 16:07 EST Beddow, Kylee RN




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                                               Case 1:19-mc-00145-TSC Document 393-1 Filed 01/11/21 Page 3 of 15
                                                                           Bureau of Prisons
                                                                            Health Services
                                                                                 PPDs
Reg #: 27832-054                                        Inmate Name: JOHNSON, CORY

Admin:                   Location                       Provider                         Reading:               Induration      Provider
05/21/2020 11:50         Left Forearm                   Miller, Kasha RN                 05/23/2020 15:11       0 mm            Miller, Kasha RN
     asymptomatic                                                                        asymptomatic
         Orig Entered: 05/21/2020 11:51 EST Miller, Kasha RN                               Orig Entered: 05/23/2020 15:11 EST Miller, Kasha RN
05/12/2019 16:00 Left Forearm                          Keller, Kelly RN/BSN, Health      05/14/2019 16:56       0 mm            Keller, Kelly RN/BSN, Health
     denies fever, cough, night sweats, blood tinged sputum, or weight loss
       Orig Entered: 05/12/2019 16:37 EST Keller, Kelly RN/BSN, Health                      Orig Entered: 05/14/2019 16:56 EST Keller, Kelly RN/BSN, Health Information
                                                 Information Technician                                                               Technician
05/11/2018 09:11 Left Forearm                          May, Joseph RN, CWCN              05/13/2018 11:16         0 mm                  Walters, Sarah RN
                                                                                         denies any s/s TB.
         Orig Entered:    05/11/2018 09:12 EST May, Joseph RN, CWCN                        Orig Entered: 05/13/2018 11:16 EST Walters, Sarah RN
05/17/2017 14:04         Left Forearm               May, Joseph RN, CWCN                 05/19/2017 17:53         0 mm                  May, Joseph RN, CWCN
                                                                                         Denies fever, cough, bloody sputum, night sweats, or unexplained weakness.
         Orig Entered:    05/17/2017 14:05 EST May, Joseph RN, CWCN                        Orig Entered: 05/19/2017 17:53 EST May, Joseph RN, CWCN
05/10/2017 10:42         Left Forearm               Brazzell, Susan HSA                  05/12/2017 13:38         0 mm                  May, Joseph RN, CWCN
                                                                                         Denies fever, cough, bloody sputum, night sweats, or weight loss.
         Orig Entered:    05/10/2017 10:43 EST Brazzell, Susan HSA                         Orig Entered: 05/12/2017 13:38 EST May, Joseph RN, CWCN
06/02/2016 12:20         Left Forearm               Clingerman, Nicole LPN               06/04/2016 16:02         0 mm                  McGee, Cindy NR-P,AHSA
     asymptomatic                                                                        No signs or symptoms of TB noted including fever, night sweats, or cough
         Orig Entered:  06/02/2016 12:21 EST Clingerman, Nicole LPN                        Orig Entered: 06/04/2016 16:03 EST McGee, Cindy NR-P,AHSA
05/29/2015 07:33 Left Forearm                      Keller, Kelly RN/BSN, Health          05/31/2015 09:20         0 mm                  Brazzell, Susan HSA
     denies s/s of active TB                                                             no signs or symptoms of cold and flu like illness.
       Orig Entered: 05/29/2015 07:34 EST Keller, Kelly RN/BSN, Health                     Orig Entered: 05/31/2015 09:20 EST Brazzell, Susan HSA
                                             Information Technician
06/04/2014 09:24 Left Forearm                      Booth, Sara RN/AHSA                   06/06/2014 09:40       0 mm            Booth, Sara RN/AHSA
                                                                                         No s/s of TB
         Orig Entered:    06/04/2014 09:25 EST Booth, Sara RN/AHSA                         Orig Entered: 06/06/2014 09:40 EST Booth, Sara RN/AHSA
06/04/2013 14:21         Left Forearm               Heiser, Tracy RN                     06/06/2013 14:29       0 mm            Heiser, Tracy RN
                                                                                         no s/s of TB
         Orig Entered:    06/04/2013 14:22 EST Heiser, Tracy RN                            Orig Entered: 06/06/2013 14:29 EST Heiser, Tracy RN
06/27/2012 10:26         Left Forearm               Warner, Krista HIT                   06/29/2012 12:40       0 mm            Heiser, Tracy RN
                                                                                         no s/s of TB

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                                                                        Bureau of Prisons
                                                                         Health Services
                                                                              PPDs
Reg #: 27832-054                                        Inmate Name: JOHNSON, CORY

Admin:                   Location                  Provider                              Reading:              Induration      Provider
         Orig Entered:    06/27/2012 10:27 EST Warner, Krista HIT                           Orig Entered:
                                                                                                        06/29/2012 12:40 EST Heiser, Tracy RN
06/21/2011 09:52         Left Forearm              Heiser, Tracy RN                      06/23/2011 12:24      0 mm            Heiser, Tracy RN
     no s/s tb
         Orig Entered:    06/21/2011 09:53 EST Heiser, Tracy RN                             Orig Entered:06/23/2011 12:24 EST Heiser, Tracy RN
06/13/2010 11:46         Left Forearm               Haddix, Trisha RN                    06/15/2010 12:23       0 mm            Haddix, Trisha RN
                                                                                         Asymptomatic
         Orig Entered:    06/13/2010 11:48 EST Haddix, Trisha RN                           Orig Entered: 06/15/2010 12:24 EST Haddix, Trisha RN
06/15/2009 10:00         Left Forearm               Scully, Karen RN, IDC                06/17/2009 10:21       0 mm            Scully, Karen RN, IDC
     LATE ENTRY
         Orig Entered:    06/16/2009 06:48 EST Scully, Karen RN, IDC                        Orig Entered:
                                                                                                        06/17/2009 10:21 EST Scully, Karen RN, IDC
06/03/2008 10:05         Left Forearm                Scully, Karen RN, IDC               06/05/2008 10:06      0 mm            Scully, Karen RN, IDC
         Orig Entered:    06/06/2008 10:06 EST Scully, Karen RN, IDC                        Orig Entered:   06/06/2008 10:07 EST Scully, Karen RN, IDC
Total: 14




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                                               Federal Bureau of Prisons
                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                              Reg #: 27832-054
Date of Birth: 11/05/1968                             Sex: M        Race: BLACK         Facility: THP
Encounter Date: 01/06/2021 08:21                      Provider: McGuire, Cody NREMT-P   Unit:     X01


Screenings:
    COVID-19
       Quarantine
           Yes: Cough (Duration/Describe: improving. mild, dry, persisitent)
           No: Vital Signs w/O2 sat recorded in flowsheet, Shortness of Breath, Fatigue, Body aches, Sore throat,
           Diarrhea, Headache, Loss of taste or smell, Nausea or vomiting



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 01/06/2021 08:22.




Generated 01/06/2021 08:22 by McGuire, Cody NREMT-P     Bureau of Prisons - THP                              Page 1 of 1
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                                               Federal Bureau of Prisons
                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                     Reg #: 27832-054
Date of Birth: 11/05/1968                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 01/05/2021 11:21                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Quarantine
           Yes: Cough (Duration/Describe: persistent dry)
           No: Vital Signs w/O2 sat recorded in flowsheet, Shortness of Breath, Fatigue, Body aches, Sore throat,
           Diarrhea, Headache, Loss of taste or smell, Nausea or vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    01/05/2021       11:20 THX            97.1           36.2                       McGuire, Cody NREMT-P



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 01/05/2021 11:21.




Generated 01/05/2021 11:21 by McGuire, Cody NREMT-P       Bureau of Prisons - THP                                 Page 1 of 1
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                                               Federal Bureau of Prisons
                                                    SCREENINGS
Inmate Name: JOHNSON, CORY                                                                     Reg #: 27832-054
Date of Birth: 11/05/1968                              Sex: M        Race: BLACK               Facility: THP
Encounter Date: 01/03/2021 13:55                       Provider: McGuire, Cody NREMT-P         Unit:     X01


Screenings:
    COVID-19
       Isolation
           Yes: Cough (Duration/Describe: dry, persists. improving)
           No: Vital Signs w/O2 sat recorded in flowsheet, Shortness of Breath, Fatigue, Body aches, Sore throat,
           Diarrhea, Headache, Loss of taste or smell, Nausea or vomiting
Temperature:
    Date             Time           Fahrenheit        Celsius Location              Provider
    01/03/2021       13:54 THX            97.3           36.3                       McGuire, Cody NREMT-P



Cosign Required:No
Completed by McGuire, Cody NREMT-P on 01/03/2021 13:55.




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                                              Federal Bureau of Prisons
                                                   SCREENINGS
Inmate Name: JOHNSON, CORY                                                                      Reg #: 27832-054
Date of Birth: 11/05/1968                           Sex: M          Race: BLACK                 Facility: THP
Encounter Date: 01/02/2021 11:21                    Provider: Durr, R. NRP                      Unit:     X01


Screenings:
    COVID-19
       Isolation
           No: Cough, Shortness of Breath, Fatigue, Body aches, Sore throat, Diarrhea, Headache, Loss of taste or
           smell, Nausea or vomiting
   Comments
       Inmate states no changes from previous. Appears well.
Temperature:
    Date              Time            Fahrenheit   Celsius Location              Provider
    01/02/2021        11:20 THX             97.4      36.3                       Durr, R. NRP



Cosign Required:No
Completed by Durr, R. NRP on 01/02/2021 11:21.




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                                              Federal Bureau of Prisons
                                                   SCREENINGS
Inmate Name: JOHNSON, CORY                                                                      Reg #: 27832-054
Date of Birth: 11/05/1968                           Sex: M          Race: BLACK                 Facility: THP
Encounter Date: 01/01/2021 07:30                    Provider: Durr, R. NRP                      Unit:     X01


Screenings:
    COVID-19
       Isolation
               No: Cough (Duration/Describe: Is getting better but "still annoying".), Shortness of Breath, Fatigue, Body
               aches, Sore throat, Diarrhea, Headache, Loss of taste or smell, Nausea or vomiting
Temperature:
    Date              Time            Fahrenheit   Celsius Location              Provider
    01/01/2021        07:30 THX             97.6      36.4                       Durr, R. NRP



Cosign Required:No
Completed by Durr, R. NRP on 01/02/2021 12:27.




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                                               Case 1:19-mc-00145-TSC Document 393-1 Filed 01/11/21 Page 10 of 15
                                                                       Bureau of Prisons
                                                                        Health Services
                                                                     Devices and Equipment
Start Date:     01/01/2021                                            Stop Date:   01/06/2021
Reg #:          27832-054                                             Inmate Name: JOHNSON, CORY

Device/Equipment                                     Start Date   Stop Date      Date Returned           Obtained From   Comments
Brace - knee
 11/14/2017 13:45 EST Matchett, Ashley P.T.          11/14/2017   11/14/2019                             BOP             CURAD MEDIUM KNEE SUPPORT / SLEEVE

Other
 07/23/2010 15:04 EST Tabor, Timothy PA-C            07/23/2010                                          BOP             Ace wrap for left foot.

Total: 2




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                                              of Prisons
                                                 Health Services
                                                    Allergies
Reg #: 27832-054                               Inmate Name: JOHNSON, CORY

Allergy                                           Date Noted                 Reaction
No Known Allergies                                03/27/2009
          Orig Entered:    03/27/2009 12:00 EST Julian, K. HSA/FNP-BC
Total: 1




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                                                                       Bureau of Prisons
                                                                        Health Services
                                                                       Health Problems
Reg #: 27832-054                                  Inmate Name: JOHNSON, CORY

 Description                                                                             Axis Code Type    Code    Diag. Date Status     Status Date

                                                                          Current
 Elbow, Pain in joint, upper arm
  10/09/2014 10:47 EST Mata, Heather PA-C                                                    III ICD-9    719.42   10/09/2014 Current     10/09/2014

 Knee, Pain in joint, lower leg
  08/06/2012 13:51 EST Ndife, Z. MLP                                                         III ICD-9    719.46   08/17/2011 Current     08/06/2012
        Mild DJD
  10/24/2011 12:53 EST Jones, Roger MD                                                       III ICD-9    719.46   08/17/2011 Resolved    10/24/2011
  08/17/2011 11:36 EST Ndife, Z. MLP                                                         III ICD-9    719.46   08/17/2011 Current     08/17/2011
 Myopia
  06/15/2018 08:06 EST Alumbaugh, Kimberly O.D.                                                  ICD-10   H5210    06/15/2018 Current

 Presbyopia
  06/15/2018 08:06 EST Alumbaugh, Kimberly O.D.                                                  ICD-10    H524    06/15/2018 Current


                                                                          Resolved
 Unspecified inflammatory and toxic neuropathy
  02/23/2016 07:20 EST SYSTEM                                                                III ICD-9     357.9   06/23/2009 Resolved    06/23/2009
  03/24/2011 10:36 EST Jones, Roger MD                                                       III ICD-9     357.9   06/23/2009 Resolved    06/23/2009
  06/23/2009 12:08 EST Tabor, Timothy PA-C                                                   III ICD-9     357.9   06/23/2009 Current     06/23/2009
 Unspecified hemorrhoids without mention of comp
  02/23/2016 07:20 EST SYSTEM                                                                III ICD-9     455.6   08/17/2010 Resolved    08/17/2010
  03/24/2011 10:36 EST Jones, Roger MD                                                       III ICD-9     455.6   08/17/2010 Resolved    08/17/2010
  08/17/2010 17:42 EST Tabor, Timothy PA-C                                                   III ICD-9     455.6   08/17/2010 Current     08/17/2010
 Dental caries, unspecified
  02/23/2016 07:20 EST SYSTEM                                                                III ICD-9    521.00   04/06/2012 Resolved    04/06/2012
         Fractured all provisional restoration patched to amalgam. Needs new restoration.
  04/06/2012 13:02 EST Cortes, Jesus DMD, FAGD                                               III ICD-9    521.00   04/06/2012 Resolved    04/06/2012
         Fractured all provisional restoration patched to amalgam. Needs new restoration.
 Chronic periodontitis, localized
  02/23/2016 07:20 EST SYSTEM                                                                III ICD-9    523.41   11/23/2009 Resolved    11/23/2009
  03/24/2011 10:36 EST Jones, Roger MD                                                       III ICD-9    523.41   11/23/2009 Resolved    11/23/2009
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                                               Case 1:19-mc-00145-TSC Document 393-1 Filed 01/11/21 Page 13 of 15
Reg #: 27832-054                                  Inmate Name: JOHNSON, CORY

 Description                                                                           Axis Code Type    Code    Diag. Date Status     Status Date
  11/23/2009 09:49 EST Franco, Miguel DMD                                                III ICD-9      523.41   11/23/2009 Current     11/23/2009

 Fractured restorative material w loss material
  02/23/2016 07:20 EST SYSTEM                                                              III ICD-9    525.64   11/18/2015 Resolved    11/18/2015
  11/18/2015 09:53 EST Shepherd, Doug DMD                                                  III ICD-9    525.64   11/18/2015 Resolved    11/18/2015
 Constipation, unspecified
  02/23/2016 07:20 EST SYSTEM                                                              III ICD-9    564.00   08/17/2010 Resolved    08/17/2010
  03/24/2011 10:36 EST Jones, Roger MD                                                     III ICD-9    564.00   08/17/2010 Resolved    08/17/2010
  08/17/2010 17:39 EST Tabor, Timothy PA-C                                                 III ICD-9    564.00   08/17/2010 Current     08/17/2010
 Hand, Pain in joint
  02/23/2016 07:20 EST SYSTEM                                                              III ICD-9    719.44   07/23/2010 Resolved    07/23/2010
  03/24/2011 10:36 EST Jones, Roger MD                                                     III ICD-9    719.44   07/23/2010 Resolved    07/23/2010
  07/23/2010 14:57 EST Tabor, Timothy PA-C                                                 III ICD-9    719.44   07/23/2010 Current     07/23/2010
 Other and unspec disc disorder, lumbar region
  02/23/2016 07:20 EST SYSTEM                                                              III ICD-9    722.93   01/20/2011 Resolved    05/15/2012
        s/p lumbar fusion & neuro stimulator
        X-ray L-spine 3/15/2011--fractured screw
  05/15/2012 11:46 EST Wilson, William E. MD/CD                                            III ICD-9    722.93   01/20/2011 Resolved    05/15/2012
        s/p lumbar fusion & neuro stimulator
        X-ray L-spine 3/15/2011--fractured screw
  03/24/2011 10:36 EST Jones, Roger MD                                                     III ICD-9    722.93   01/20/2011 Current     01/20/2011
        s/p lumbar fusion & neuro stimulator
        X-ray L-spine 3/15/2011--fractured screw
  01/20/2011 15:43 EST Ndife, Z. MLP                                                       III ICD-9    722.93   01/20/2011 Current     01/20/2011
        s/o lumbar fusion
 Backache, unspecified
  02/23/2016 07:20 EST SYSTEM                                                              III ICD-9     724.5   09/25/2009 Resolved    09/25/2009
  03/24/2011 10:36 EST Jones, Roger MD                                                     III ICD-9     724.5   09/25/2009 Resolved    09/25/2009
  09/25/2009 10:04 EST Klink, Kimberly MS, FNP                                             III ICD-9     724.5   09/25/2009 Current     09/25/2009
 Nerve pain, neuralgia neuritis, radiculitis
  02/23/2016 07:20 EST SYSTEM                                                              III ICD-9     729.2   03/24/2011 Resolved    05/15/2012
  05/15/2012 11:46 EST Wilson, William E. MD/CD                                            III ICD-9     729.2   03/24/2011 Resolved    05/15/2012
  03/24/2011 10:36 EST Jones, Roger MD                                                     III ICD-9     729.2   03/24/2011 Current     03/24/2011
 Dysuria
  02/23/2016 07:20 EST SYSTEM                                                              III ICD-9     788.1   08/17/2010 Resolved    08/17/2010
  03/24/2011 10:36 EST Jones, Roger MD                                                     III ICD-9     788.1   08/17/2010 Resolved    08/17/2010
  08/17/2010 17:40 EST Tabor, Timothy PA-C                                                 III ICD-9     788.1   08/17/2010 Current     08/17/2010

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                                               Case 1:19-mc-00145-TSC Document 393-1 Filed 01/11/21 Page 14 of 15
Reg #: 27832-054                                  Inmate Name: JOHNSON, CORY

 Description                                                                           Axis Code Type   Code    Diag. Date Status     Status Date


 Disorder of teeth and supporting structures, unspecified
  08/28/2019 15:06 EST Van Wagoner, J. DMD                                                     ICD-10   K089    08/28/2019 Resolved    08/28/2019

 Confirmed case COVID-19
  12/27/2020 08:52 EST Frank, Casey FNP                                                        ICD-10   U07.1   12/16/2020 Resolved    12/27/2020
        Abbott positive Quest +12/18/20
  12/21/2020 09:50 EST Bowman, Hollie RN/IIPCC                                                 ICD-10   U07.1   12/16/2020 Current
        Abbott positive Quest +12/18/20
  12/16/2020 17:28 EST Scully, Karen RN, IDC                                                   ICD-10   U07.1   12/16/2020 Current
        Abbott positive
 Unspecified general medical examination
  02/23/2016 07:20 EST SYSTEM                                                              III ICD-9    V70.9   03/27/2009 Resolved
  03/27/2009 11:58 EST Klink, Kimberly MS, FNP                                             III ICD-9    V70.9   03/27/2009


 Total: 18




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                                                   Bureau of Prisons
                                                    Health Services
                                                    Vision Screens
 Reg #: 27832-054                               Inmate Name: JOHNSON, CORY

Vision Screen on 06/15/2018 08:04
   Blindness:
   Distance Vision: OD: 20/25                               OS: 20/50                          OU:
   Near Vision:          OD:                                OS:                                OU:
   With Corrective
   Distance Vision: OD:                                     OS:                                OU:
   Near Vision:          OD:                                OS:                                OU:
   Present Glasses - Distance                                        Refraction - Distance
        Sphere          Cylinder     Axis         Add                     Sphere    Cylinder     Axis   Add
   R:                                                                R: 0.00                            +2
   L:                                                                L: -1.00                           +2
   Color Test:
   Tonometry:       R: 18               L: 18
   Comments:
        Orig Entered:    06/15/2018 08:05 EST Alumbaugh, Kimberly O.D.




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